Case:13-26137-SBB Doc#:25 Filed:12/04/13                            Entered:12/04/13 16:25:03 Page1 of 1



       UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO
                       Minutes of Electronically Recorded Proceeding
            Held Wednesday, December 4, 2013, Before Honorable Sidney B. Brooks

In re:                                                        )
                                                              )                                 Bankruptcy Case No.
LINDA SUZANNE RUSSELL                                         )                                      13-26137 - SBB
SS#xxx-xx-8419                                                )                                          Chapter 13
                                                              )
Debtor(s).                                                    )

:   Appearances:
Debtor(s),                                                        Counsel:
Chapter 13 Trustee, Sally Zeman:                                  Counsel: William Lambert, by telephone

:       No appearance at this hearing by either the Debtor or Debtor’s counsel.


Proceedings:            Confirmation of Debtor(s)’ Chapter 13 Plan of Reorganization filed October 4, 2013 (Docket
                        #11) and Objection(s) by Standing Chapter 13 Trustee filed October 31, 2013 (Docket #20)
:       Entry of appearances and statements/arguments made.
:       The Court was advised that Debtor(s) 9 is/are current, or : is/are not current, on payments to the Chapter 13
        Trustee, Sally Zeman.
:       Evidentiary1



Orders:
:       Oral findings and conclusions made of record.
:       IT IS ORDERED as follows:
1.      Based upon the statements entered on the record at the hearing, the Debtor(s)’ Chapter 13 Plan of
        Reorganization filed October 4, 2013 (Docket #11) is DENIED and the Debtor’s Motion to Dismiss Case
        filed on November 22, 2013 (Docket #23) is hereby GRANTED.

2.      Objection(s) to confirmation is/are hereby deemed MOOTED.

     IT IS THEREFORE ORDERED that sanctions in the amount of $200.00 are hereby imposed against Dustin
Klein, counsel for the Debtor, for his failure to appear at this duly scheduled hearing or otherwise advise this Court
as to his non-appearance at this hearing. Said sum shall be remitted directly to the Faculty of Federal Advocates on
or before December 18, 2013. Mr. Klein shall notify the Court, in writing, of compliance with this Order Imposing
Sanctions and the Judgment at the time of remittance.


                                                                           FOR THE COURT:
                                                                           Kelly J. Sweeney, Acting Clerk

                                                                           By: /s/ A. Sekera, Courtroom Deputy




1
    Evidentiary for statistical reporting purposes.
